 T. T., a/k/aT. G., Petitioner  v.  The People of the State of Colorado, Respondent:  In the Interest of Minor Child: A.F.G. No. 22SC402Supreme Court of Colorado, En BancAugust 1, 2022
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA1316
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      PETITIONS FOR WRIT OF CERTIORARI
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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